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 2                                                                         Honorable Barbara J. Rothstein

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 7
                                  UNITED STATES DISTRICT COURT
 8
                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
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     LARISA SOPKA, DANIELA SOPKA,                      Civil Case No. 2:24-cv-00011-BJR
10   TATYANA SOPKA,
                                                       ORDER GRANTING AGREED MOTION
11                  Plaintiff,                         TO CHANGE TRIAL DATE AND AMEND
                                                       CASE SCHEDULE
12          v.
13   SOUTHCENTER OWNER LLC, a Delaware
     limited liability company doing business in the
14   State of Washington; THE CHEESECAKE
     FACTORY RESTAURANTS, INC., a
15   California corporation doing business in the
     State of Washington; UNIVERSAL
16   PROTECTION SERVICE, LP, d/b/a ALLIED
     UNIVERSAL SECURITY SERVICES, a for-
17   profit foreign limited partnership JOHN AND
     JANE DOES 1-5, individuals or entities,
18
                    Defendants.
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20          This matter came before the Court on the Parties JOINT STIPULATION TO CONTINUE
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     TRIAL DATE AND PRE-TRIAL DEADLINES, and, in accordance with Rule 16(b)(4) of the
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     Federal Rules of Civil Procedure, finding good cause has been shown and with the Court's consent,
23
     sets the following new trial date deadlines.
24

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      ORDER GRANTING AGREED MOTION                           WOOD, SMITH, HENNING & BERMAN LLP
      TO CHANGE TRIAL DATE AND AMEND                            801 Kirkland Avenue, suite 100
                                                                     Kirkland, WA 98033
      CASE SCHEDULE - 1                                                 206-204-6800
 1                  Event                          Original Deadline              New Deadline
 2       JURY TRIAL DATE                          October 20, 2025             April 13, 2026

 3       FRCP 26(a)(2) expert reports due         March 7, 2025                September 8, 2025
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         Discovery completed by                   April 7, 2025                October 7, 2025
 5
         All dispositive motions filed by         May 6, 2025                  November 6, 2025
 6
         All motions in limine filed by           August 26, 2025              February 26, 2026
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 8       Joint Pretrial Statement                 September 5, 2025            March 5, 2026

 9       Pretrial conference                      October 7, 2025              April 7, 2026

10       Length of Jury Trial                     12 days                      12 days
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            IT IS ORDERED that the trial date shall be continued form October 20, 2025, to April
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     13, 2026.
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            IT IS FURTHER ORDERED that all remining pre-trial discovery and motion deadlines
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     shall be continued in accordance with the new trial date.
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18   IT IS SO ORDERED:

19   DATED this 20th of February 2025.
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22                                                A
                                                  HONORABLE BARBARA J. ROTHSTEIN
23
                                                  UNITED STATES DISTRICT JUDGE
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      ORDER GRANTING AGREED MOTION                               WOOD, SMITH, HENNING & BERMAN LLP
      TO CHANGE TRIAL DATE AND AMEND                                801 Kirkland Avenue, suite 100
                                                                         Kirkland, WA 98033
      CASE SCHEDULE - 2                                                     206-204-6800
 1
     Presented by:
 2

 3   CHOCK BARHOUM LLP                          WOOD, SMITH, HENNING & BERMAN LLP
 4

 5
     By: /s/Sarah Tuthill-Kveton              By:/s/Timothy D. Shea
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 8                                            Kirkland, WA 98033
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12   SEAMARK LAW GROUP PLLC                   PFAU COCHRAN VERTETIS AMALA
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14   By: /s/Jessie A. Townsend                   By:/s/Kevin Hastings
15   Grindeland, WSBA No. 35798                  Darrell Cochran, WSBA No. 22851
     Nikki Carsley, WSBA No. 46650               Kevin Hastings, WSBA No. 42316
16   Jesse A. Townsend, WSBA No. 63238
     Attorneys for Universal Protection Services
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18   DATED: 2/18/25
19   PREMIER LAW GROUP
20

21
     By: /s/Jason Epstein
22   Jason Epstein, WSBA No. 31779
     Attorneys Plainitff
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      ORDER GRANTING AGREED MOTION                          WOOD, SMITH, HENNING & BERMAN LLP
      TO CHANGE TRIAL DATE AND AMEND                           801 Kirkland Avenue, suite 100
                                                                    Kirkland, WA 98033
      CASE SCHEDULE - 3                                                206-204-6800
